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                                    EXHIBIT B

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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE




    In re                                                              Chapter 11

    STANADYNE LLC, et al.,1                                            Case No. 23-10207 (TMH)

                    Debtors.                                           (Jointly Administered)




            ORDER (I) APPROVING ASSET PURCHASE AGREEMENT, (II)
        AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
       ASSETS FREE AND CLEAR OF ALL ENCUMBRANCES, (III) AUTHORIZING
          THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
                     CONTRACTS AND UNEXPIRED LEASES,

                              AND (IV) GRANTING RELATED RELIEF

            Upon    the    motion     (the    “Motion”)2       of    the     above-captioned        debtors     and

debtors-in-possession (the “Debtors”) for entry of an order (this “Sale Order”): (i) approving that

certain asset purchase agreement, dated as of May 8, 2023, by and among Debtors Stanadyne

PPT Holdings, Inc., Stanadyne LLC, and Pure Power Technologies, Inc.,3 as Sellers, and

Stanadyne Operating Company LLC (formerly known as S-PPT Acquisition Company LLC)

(together with its designees, successors or assigns, as applicable, as provided in the Asset

Purchase Agreement referred to below, the “Purchaser”), as Purchaser (including all exhibits,

annexes and schedules related thereto, and as the same may be amended from time to time in

1
  . The Debtors in the above-captioned Chapter 11 cases (the “Cases”), along with the last four digits of each Debtor’s
         federal tax identification number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202);
         Stanadyne PPT Holdings, Inc. (2594); and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’
         headquarters are located at 405 White Street, Jacksonville, North Carolina 28546.
2
  . Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
3
  . Debtor Stanadyne PPT Group Holdings, Inc. is not a party to the Asset Purchase Agreement As used herein, the
   terms “Debtor” and “Debtors” refer to all Debtors in the Cases or only those Debtors who are Sellers under the Asset
   Purchase Agreement, in each case as the context shall require.


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accordance with the terms thereof, including Paragraph 5.1 hereof, the “Asset Purchase

Agreement”), a copy of which is attached hereto as Exhibit A, (ii) authorizing and approving the

sale of substantially all of the assets of the Debtors (as more precisely defined in the Asset

Purchase Agreement, the “Purchased Assets”) free and clear of all Encumbrances (as defined

below) and the consummation of all other transactions contemplated by the Asset Purchase

Agreement (collectively, the “Sale”) and the fulfillment of the Debtors’ obligations thereunder,

(iii) authorizing the assumption of those executory contracts and unexpired leases of the Debtors

that constitute Assigned Contracts (as defined in the Asset Purchase Agreement) and the

assignment and sale of the Assigned Contracts to Purchaser, and (iv) granting related relief; the

Court having entered on May 16, 2023 that certain Order (I) Approving Bidding Procedures, (II)

Scheduling an Auction and a Sale Hearing, (III) Approving the Form and Manner of Notice

Thereof, (IV) Establishing Notice and Procedures for the Assumption and Assignment and Sale

of Contracts and Leases, and (V) Granting Related Relief [Docket No. 276] (the “Bidding

Procedures Order”); the Debtors having determined that the highest or otherwise best offer for

the Purchased Assets was made by the Purchaser pursuant to the Asset Purchase Agreement; the

Court having conducted a hearing on July 10, 2023 at 10:00 a.m. (ET) (the “Sale Hearing”), at

which all parties in interest were offered an opportunity to be heard with respect to the Motion, to

consider approval of the Sale pursuant to the terms and conditions of the Asset Purchase

Agreement; and the Court having considered (i) the Motion, all objections thereto, and all replies

in support thereof, (ii) the arguments of counsel made, and evidence proffered or adduced,

related to the Motion, and (iii) the full record in these Cases, including the record related to the

Sale Hearing; all parties in interest having been heard, or having had the opportunity to be heard,

regarding the approval of the Asset Purchase Agreement and the Sale and the related relief



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granted herein; and it appearing that the relief requested in the Motion is in the best interests of

the Debtors, their estates, their creditors, and other parties in interest; and it further appearing that

the legal and factual bases set forth in the Motion and at the Sale Hearing establish just cause for

the relief granted herein; and after due deliberation thereon and good and sufficient cause

appearing therefor;

         IT IS HEREBY FOUND, CONCLUDED, AND DETERMINED THAT:

         A.        Findings of Fact and Conclusions of Law. The findings and conclusions set forth

herein constitute this Court’s findings of fact and conclusions of law pursuant to Bankruptcy

Rule 7052, made applicable to these Cases pursuant to Bankruptcy Rule 9014. To the extent that

any of the following findings of fact constitute conclusions of law, they are adopted as such. To

the extent any of the following conclusions of law constitute findings of fact, they are adopted as

such.

         B.        Jurisdiction; Venue. This Court has jurisdiction over the Motion and over the

property of the Debtors, including the Purchased Assets, pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of the Cases and the Motion

in this district and Court is proper under 28 U.S.C. §§ 1408 and 1409.

         C.        Final Order. This Sale Order constitutes a final order within the meaning of 28

U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to the extent

necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil Procedure,

as made applicable by Bankruptcy Rule 7054, this Court expressly finds that there is no just

reason for delay in the implementation of this Sale Order and expressly directs entry of judgment

as set forth herein.




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         D.        Statutory Bases for Relief. The statutory bases for the relief requested in the

Motion are sections 105(a), 363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002,

6004, 6006, 9013 and 9014.

         E.        Notice. As evidenced by the affidavits of service and publication filed with the

Court [Docket Nos. 256, 265, 269, 279, 282, 287, 299, 319, 321, 322, 331, 339, 356, 385, 417],

and based on the representations of counsel at the Sale Hearing, due, proper, timely, adequate,

and sufficient notice of the Motion, the Bidding Procedures (as defined below), the Sale Hearing,

the Sale, and the assumption, assignment, and sale of the Assigned Contracts has been provided

in accordance with sections 102(1), 363, and 365 of the Bankruptcy Code and Bankruptcy Rules

2002, 6004, 6006, 9007, 9013, and 9014 and in compliance with the Bidding Procedures Order to

each party entitled to such notice. The Debtors have complied with all obligations to provide

notice of the Motion as set forth in the Bidding Procedures Order, and such notice was

reasonably calculated to provide all interested parties with timely and proper notice of the

Bidding Procedures, the Sale Hearing, the Sale, and the assumption, assignment, and sale of the

Assigned Contracts. Actual notice of the Motion and the relief requested therein (the “Sale

Notice”) was provided to the following parties: (i) the Office of the United States Trustee for the

District of Delaware, (ii) counsel to the Committee, (iii) counsel to the Prepetition Agent (as

defined below), (iv) counsel to the Purchaser, (v) all parties to Potential Assigned Contracts (as

defined in the Bidding Procedures Order), (vi) all parties who had expressed a written interest in

some or all of the Purchased Assets, (vii) all known holders of Encumbrances in, on, to, or

against the Purchased Assets, (viii) the Internal Revenue Service, (ix) all applicable state and

local taxing authorities, (x) the state attorneys general for all states in which the Debtors conduct

business; and (xi) all parties that have requested or that are required to receive notice pursuant to



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Bankruptcy Rule 2002. With respect to Entities (as defined in the Bankruptcy Code) whose

identities or addresses are not reasonable ascertainable by the Debtors, publication of the Sale

Notice in the New York Times – National Edition on May 26, 2023 (the “Publication Notice”)

was sufficient and reasonably calculated under the circumstances to reach such Entities. The

Sale Notice and the Publication Notice collectively provided all interested parties with timely and

proper notice of the Motion, the Bidding Procedures (including the time and place of the

Auction), the Sale, the assumption, assignment, and sale of the Assigned Contracts, and the Sale

Hearing.       The notices described above were good, sufficient, and appropriate under the

circumstances, and no other or further notice was or is required.

         F.        Disclosures. The disclosures made by the Debtors in the Motion, the Sale Notice,

the Publication Notice, and related documents filed with the Court concerning the Asset Purchase

Agreement and at the Sale Hearing were sufficient under the circumstances.

         G.        Sale and Marketing Process. As demonstrated by evidence proffered or adduced

at the Sale Hearing, the Debtors and their professionals have conducted an adequate marketing

process and a fair and open sale process in compliance with the Bidding Procedures Order. The

bidding procedures attached as an exhibit to the Bidding Procedures Order (the “Bidding

Procedures”) were the result of arm’s length negotiations, were substantively and procedurally

fair to all parties, were proposed in good faith, and afforded a full, fair, and reasonable

opportunity for any interested party to make a higher or otherwise better offer to purchase the

Purchased Assets. The Bidding Procedures and the opportunity to submit a higher or otherwise

better bid were duly noticed, the sale process was conducted in a non-collusive, fair, and

good-faith manner, and the Debtors and the Purchaser have complied with the Bidding

Procedures and the Bidding Procedures Order in all material respects.



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         H.        Successful Bidder. The Debtors determined, in accordance with the Bidding

Procedures, and in consultation with the Consultation Parties (as defined in the Bidding

Procedures Order), that the Purchaser’s bid was the sole Qualified Bid and represented the

highest or otherwise best offer for the Purchased Assets. As a result, the Debtors canceled the

Auction and declared the Purchaser the Successful Bidder in a notice filed with the Court

[Docket No. 394].

         I.        Highest and Best Offer. After a full, fair, and robust sale process, the Debtors

appropriately determined that the Asset Purchase Agreement constitutes the highest or otherwise

best offer for the Purchased Assets.          Taking into consideration all relevant factors and

circumstances, the Asset Purchase Agreement represents the best available alternative for the

Debtors’ estates. The total consideration provided by the Purchaser for the Purchased Assets as

reflected in the Asset Purchase Agreement (i) is fair and reasonable, (ii) represents the highest

and best offer received by the Debtors for the Purchased Assets, and (iii) will provide a greater

recovery for the Debtors’ estates than would be provided by any other available alternative. No

other Entity or group of Entities has submitted a Qualified Bid or otherwise offered to purchase

the Purchased Assets for greater economic value to the Debtors’ estates than the Purchaser.

         J.        Best Interests of the Estates, Creditors and Parties in Interest. The Debtors have

demonstrated compelling circumstances and a good, sufficient, and sound business purpose and

justification for the sale of the Purchased Assets outside the ordinary course of business under

section 363(b) of the Bankruptcy Code. The immediate consummation of the Sale is necessary

and appropriate to maximize the value of the Debtors’ estates. Considering all relevant facts and

circumstances of these Cases, and the adequacy and fair value of the consideration provided by

the Purchaser under the Asset Purchase Agreement, the Sale (i) constitutes a reasonable and



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sound exercise of the Debtors’ business judgment and a proper exercise of the fiduciary duties of

the Debtors and their officers and directors, (ii) is in the best interests of the Debtors, their

estates, their creditors, and other parties in interest, and (iii) merits approval.

         K.        Good Faith. The Purchaser is purchasing the Purchased Assets in good faith and

is a good faith purchaser within the meaning of section 363(m) of the Bankruptcy Code. Neither

the Purchaser nor any of its Affiliates (as defined in the Asset Purchase Agreement), officers,

directors, members, partners, principals, or shareholders (or equivalent) or any of their respective

representatives, successors, or assigns (collectively, “Related Parties”) is an “insider” (as defined

in section 101(31) of the Bankruptcy Code) of any Debtor and, therefore, each such Entity is

entitled to the full protections of section 363(m) and otherwise has proceeded in good faith in all

respects in connection with these Cases, including because: (i) the Purchaser recognized that the

Debtors were free to deal with any other party interested in acquiring the Purchased Assets, (ii)

the Purchaser complied with the provisions of the Bidding Procedures Order, (iii) the Purchaser’s

bid was subject to the competitive Bidding Procedures set forth in the Bidding Procedures Order,

(iv) all payments to be made by the Purchaser and other agreements or arrangements entered into

by the Purchaser in connection with the Sale have been disclosed, (v) the Purchaser has not

violated section 363(n) of the Bankruptcy Code by any action or inaction, and (vi) the negotiation

and execution of the Asset Purchase Agreement were at arm’s length and in good faith. There is

no evidence of insider influence or improper conduct by the Purchaser or any of its Related

Parties in connection with the negotiation of the Asset Purchase Agreement with the Debtors.

         L.        No Collusion. The Asset Purchase Agreement and the transactions contemplated

thereby cannot be avoided under section 363(n) of the Bankruptcy Code. None of the Debtors,

the Purchaser, or any of their respective Related Parties have engaged in any conduct that would



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cause or permit the Asset Purchase Agreement or the consummation of the transactions

contemplated thereby to be avoided, or costs or damages to be imposed, under section 363(n) of

the Bankruptcy Code.

         M.        Fair Consideration. The consideration provided by the Purchaser pursuant to the

Asset Purchase Agreement is fair and adequate and constitutes reasonably equivalent value, fair

consideration, and fair value for the Purchased Assets under the Bankruptcy Code and under the

laws of the United States, any state, territory, possession, or the District of Columbia (including

the Uniform Voidable Transactions Act, the Uniform Fraudulent Transfer Act, the Uniform

Conveyance Act, and similar laws).

         N.        Power and Authority. The Debtors, each acting by and through their existing

agents, representatives, and officers, have full corporate power and authority to perform under

the Asset Purchase Agreement and consummate all transactions contemplated thereby and to

execute, deliver, and perform under all other documents contemplated thereby. The Sale has

been duly and validly authorized by all necessary corporate actions. Upon entry of this Sale

Order, the Debtors require no further consents or approvals to consummate the transactions

contemplated by the Asset Purchase Agreement, except as otherwise set forth in the Asset

Purchase Agreement.

         O.        Binding Agreement; Survival. The Asset Purchase Agreement is a valid and

binding contract between the Debtors and the Purchaser and shall be enforceable pursuant to its

terms. The Asset Purchase Agreement was not entered into for the purpose of hindering,

delaying, or defrauding creditors under the Bankruptcy Code or under the laws of the United

States, any state, territory, possession, or the District of Columbia. Neither the Purchaser nor any

Debtor is entering into the transactions contemplated by the Asset Purchase Agreement



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fraudulently for the purpose of statutory and common law fraudulent conveyance and fraudulent

transfer claims. The Asset Purchase Agreement and the Sale itself, and the consummation

thereof, shall be specifically enforceable against and binding upon the Debtors and any Chapter

11 or Chapter 7 trustee appointed with respect to any Debtor and shall not be subject to rejection

or avoidance by the foregoing parties or any other Entity. The rights and interests granted

pursuant to this Sale Order and Asset Purchase Agreement shall continue in these or any

superseding cases under the Bankruptcy Code (including, without limitation, any case under

Chapter 7 of the Bankruptcy Code) (each, a “Superseding Case”). Any trustee appointed for any

Debtor under any provision of the Bankruptcy Code shall be authorized and directed to perform

under the Asset Purchase Agreement and this Sale Order without the need for further order of the

Court.

         P.        Property of the Estate; Valid Transfer. The Debtors are the sole and lawful owner

of, and have clear and marketable title to, the Purchased Assets. The Debtors’ right, title, and

interest in and to the Purchased Assets constitute property of the Debtors’ estates and title thereto

is vested in the Debtors’ estates within the meaning of section 541(a) of the Bankruptcy Code.

The transfer of each of the Purchased Assets to the Purchaser pursuant to the Asset Purchase

Agreement will be a legal, valid, and effective transfer of such Purchased Assets and will vest the

Purchaser with all right, title, and interests of the Debtors to the Purchased Assets free and clear

of all Encumbrances accruing or arising at, or related to, any time prior to the Closing (as defined

in the Asset Purchase Agreement), unless otherwise expressly assumed or undertaken by the

Purchaser under the terms of the Asset Purchase Agreement and with all Encumbrances in, on,

to, or against any Purchased Assets to attach to the proceeds (including all amounts paid by the

Purchaser under the Asset Purchase Agreement) of the Sale in the order of their priority and with



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the same validity, force, and effect that they had against the Purchased Assets immediately prior

to the Closing but subject to any claims and defenses that the Debtors may possess with respect

thereto.

         Q.        Free and Clear Sale. The sale of the Purchased Assets shall be free and clear of

all Encumbrances against the Debtors, their estates, and any of the Purchased Assets because, in

each case, one or more of the standards set forth in section 363(f)(1)-(5) of the Bankruptcy Code

has been satisfied. As used in this Sale Order, the term “Encumbrances” means, collectively, any

and all: (i) Encumbrances (as defined in the Asset Purchase Agreement) with respect to any

Debtor or any Debtor’s assets; (ii) Excluded Liabilities (as defined in the Asset Purchase

Agreement); (iii) debts arising under, relating to, or in connection with any act of any Debtor;

(iv) claims, liabilities, obligations, demands, guaranties, options, rights, contractual

commitments, restrictions, restrictive covenants, covenants not to compete, rights to refunds,

escheat obligations, and interests and matters of any kind and nature asserted or assertable

against any Debtor (whether arising prior to or subsequent to the commencement of the Cases

and whether imposed by agreement, applicable law, equity, or otherwise); (v) purported rights of

setoff or recoupment against, and rights and options to effect any forfeiture, modification,

profit-sharing interest, right of first refusal, purchase or repurchase right or option, or termination

of, any Debtor’s or any of the Purchaser’s interests in the Purchased Assets, or any similar rights;

(vi) taxes owed by any Debtor for a period prior to the Closing, including, without limitation,

sales, income, use or any other type of tax; (vii) restrictions, charges, and interests of any kind or

nature, including any restriction of use, voting, transfer, receipt of income, or other exercise of

any attributes of ownership, in each case accruing or arising at, or relating to, any time prior to

the Closing; provided, however, that the term “Encumbrance,” as used herein, shall not include



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any Assumed Liabilities or Permitted Encumbrances (each as defined in the Asset Purchase

Agreement), any obligations expressly assumed or undertaken by the Purchaser under the terms

of the Asset Purchase Agreement, or any liability or obligation of an entity that is not a Debtor.

If the sale of the Purchased Assets were not free and clear of all Encumbrances, or if the

Purchaser would, or in the future could, be liable for any Encumbrances, the Purchaser would not

have entered into the Asset Purchase Agreement and would not consummate the Sale, thus

adversely affecting the Debtors and their estates and creditors. The total consideration to be

provided under the Asset Purchase Agreement reflects the Purchaser’s reliance on this Sale Order

to provide it, pursuant to section 105(a) and 363(f) of the Bankruptcy Code, with title to and

possession of the Purchased Assets free and clear of all Encumbrances.

         R.        Assigned Contracts. As set forth herein, and subject only to payment of the

Determined Cure Costs (as defined in the Asset Purchase Agreement), all requirements and

conditions under the Bankruptcy Code and other applicable law for the Debtors’ assumption,

assignment, and sale to the Purchaser of the Assigned Contracts have been satisfied. The

Debtors have demonstrated that the assumption, assignment, and sale of the Assigned Contracts

contemplated by the Asset Purchase Agreement is an exercise of their sound business judgment

and is in the best interests of the Debtors, their estates and creditors, and other parties in interest.

The Assigned Contracts to be assumed, assigned, and sold to the Purchaser under the terms of the

Asset Purchase Agreement are an integral part of the Asset Purchase Agreement and the Sale

and, accordingly, such assumption, assignment, and sale are reasonable and enhance the value of

the Debtors’ estates. All Assigned Contracts are in full force and effect and have not been

rejected, and the Debtors’ time to assume or reject the Assigned Contracts has not otherwise

expired. As to each Potential Assigned Contract listed on Exhibit B hereto, the Cure Cost (as



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defined in the Asset Purchase Agreement) listed therein with respect to such Potential Assigned

Contract shall constitute the Determined Cure Cost for such Potential Assigned Contract, and

payment thereof is sufficient for the Debtors to comply fully with the requirements of Section

365(b) of the Bankruptcy Code as to such Potential Assigned Contract. As to each Potential

Assigned Contract listed on Exhibit C hereto, the Determined Cure Cost applicable thereto shall

be determined (i) by agreement of the Purchaser, the Debtors, and the non-debtor counterparty to

such Potential Assigned Contract (in which case such Potential Assigned Contract shall become

an Assigned Contract automatically upon such resolution and, to the extent applicable, payment

of the agreed Determined Cure Cost, without the need for any further order of the Court) or (ii)

by subsequent order of the Court, and, in each case, the payment of such Determined Cure Cost

will be sufficient for the Debtors to comply fully with the requirements of Section 365(b) of the

Bankruptcy Code as to such Assigned Contract.

         S.        Designation Rights. Pursuant to Section 1.5 of the Asset Purchase Agreement, the

Purchaser shall maintain certain rights to modify the list of Assigned Contracts after the date of

this Sale Order and up to the applicable Designation Deadline (as defined in the Asset Purchase

Agreement) as set forth in such section. Such modification rights include, but are not limited to,

the right of the Purchaser, prior to the applicable Designation Deadline, to designate certain

Designation Rights Assets (as defined in the Asset Purchase Agreement) for assumption by the

Debtors and assignment and sale to the Purchaser, or as Excluded Assets (as defined in the Asset

Purchase Agreement). Upon the Purchaser’s timely designation of a Designated Rights Asset as

a Purchased Asset pursuant to Section 1.5 of the Asset Purchase Agreement, all of the provisions

of this Sale Order relating to Purchased Assets shall, without the need for further order of the

Court or action by any party, become applicable to such asset. The notice and opportunity to



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object provided to the non-debtor counterparties to Potential Assigned Contracts and to other

parties in interest, as set forth in the Bidding Procedures Order and the Asset Purchase

Agreement (and as described herein), provides fair, reasonable, and adequate protection of all

rights that such non-debtor counterparties and other parties in interest may have with respect to

such Contracts (as defined in the Asset Purchase Agreement). In the event that the Debtors or

their estates incur costs or expenses in connection with the operation of any Designation Rights

Asset, the Purchaser shall be responsible for all such costs and expenses to the extent set forth in

Section 1.5(b) of the Asset Purchase Agreement,

         T.        Notice of Assumption, Assignment, and Sale of Executory Contracts and

Unexpired Leases. Good and sufficient notice of the Debtors’ assumption, assignment and sale

to the Purchaser of the Assigned Contracts has been provided to each non-debtor counterparty to

a Potential Assigned Contract. As reflected in the certificates of service filed on the Court’s

docket [Docket Nos. 319, 322, 417], the Debtors served (i) the Notice to Contract Parties to

Potentially Assumed, Assigned, and Sold Executory Contracts and Unexpired Leases [Docket

No. 297] (the “Initial Assumption Notice”) in the form approved by the Bidding Procedures

Order, (ii) the Notice of Amendment to Exhibit A to Notice to Contract Parties to Potentially

Assumed, Assigned, and Sold Executory Contracts and Unexpired Leases [Docket No. 306] (the

“First Supplemental Assumption Notice”), and (iii) the Supplemental Notice to Notice to

Contract Parties to Potentially Assumed, Assigned, and Sold Executory Contracts and

Unexpired Leases [Docket No. 400] (the “Second Supplemental Assumption Notice” and,

together with the Initial Assumption Notice and First Supplemental Assumption Notice, the

“Assumption Notices”), in which the Debtors identified the dollar amount, if any, that the

Debtors assert is necessary to be paid to cure all defaults, if any (the “Debtor Asserted Cure



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Amount”), under the Potential Assigned Contracts, on the non-debtor counterparties to the

Potential Assigned Contracts. Pursuant to the Bidding Procedures Order and as set forth in the

Assumption Notices, (i) non-debtor counterparties to the Potential Assigned Contracts listed on

the Initial Assumption Notice were required to file objections (each, a “Cure Objection”), if any,

to the Debtor Asserted Cure Amount by no later than June 12, 2023, at 5:00 p.m. (prevailing

Eastern Time), (ii) non-debtor counterparties to the Potential Assigned Contracts listed on the

First Supplemental Assumption Notice were required to file a Cure Objection, if any, to the

Debtor Asserted Cure Amount by no later than June 13, 2023, at 5:00 p.m. (prevailing Eastern

Time), and (iii) non-debtor counterparties to the Potential Assigned Contracts listed on the

Second Supplemental Assumption Notice were required to file a Cure Objection, if any, to the

Debtor Asserted Cure Amount by no later than July 6, 2023, at 5:00 p.m. (prevailing Eastern

Time) (in each case, except to the extent the Debtors and the Purchaser jointly agreed to an

extension of such deadline). The Bidding Procedures Order provides, and the Assumption

Notices explained, that in the absence of a timely filed Cure Objection, the Debtor Asserted Cure

Amount set forth in the Assumption Notices with respect to each Potential Assigned Contract

would be controlling and fixed as the Cure Cost for such Potential Assigned Contract

notwithstanding anything to the contrary in such Potential Assigned Contract or any other

document, and the non-debtor counterparty to such Potential Assigned Contract shall be deemed

to have consented to the Debtor Asserted Cure Amount. The provisions of subparagraph 16(c) of

the Bidding Procedures Order regarding Supplemental Assumption Notices (as defined in the

Bidding Procedures Order) will provide the non-debtor counterparties to Potential Assigned

Contracts listed in any Supplemental Assumption Notice served hereafter with adequate,

reasonable, and appropriate notice and opportunity to object.



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         U.        Adequate Assurance of Future Performance. On May 25, 2023 [Docket No. 321],

the Debtors sent all non-debtor counterparties to Potential Assigned Contracts evidence that the

Purchaser has the ability to perform under the non-debtor counterparty’s Potential Assigned

Contract and otherwise has provided adequate assurance of future performance under section

365(b)(1) of the Bankruptcy Code.        Pursuant to the Bidding Procedures Order, non-debtor

counterparties to Potential Assigned Contracts whose executory contracts and unexpired leases

were listed on any Assumption Notice were required to file any objections to the Purchaser’s

ability to provide adequate assurance of future performance as contemplated under sections

365(b)(1)(C), 365(b)(3) (to the extent applicable), and 365(f)(2)(B) of the Bankruptcy Code (any

such objection, an “Adequate Assurance Objection”) by no later than June 12, 2023, at 5:00 p.m.

(prevailing Eastern Time).       Any non-debtor counterparty that failed to file an Adequate

Assurance Objection is forever barred from objecting to the assumption, assignment and sale of

its Potential Assigned Contract on the grounds of a failure to provide adequate assurance of

future performance.

         V.        Purchaser Not a Successor. By consummating the Sale pursuant to the Asset

Purchase Agreement (including operating the Purchased Assets under the Debtors’ trade names),

the Purchaser is not a mere continuation of any Debtor or any Debtor’s estate, and there is no

continuity, no common identity, and no continuity of enterprise between the Purchaser and any

Debtor. The Purchaser shall not be deemed to be holding itself out as a continuation of any

Debtor based on the Sale, the Asset Purchase Agreement, or this Sale Order. The Purchaser is

not a successor to any Debtor or any Debtor’s estate by reason of any theory of law or equity, and

the Sale does not amount to a consolidation, merger, or de facto merger of the Purchaser and any

Debtor. Neither the Purchaser nor any of its Related Parties shall have assumed or in any way be



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responsible for any obligation or liability of any Debtor (or any Affiliate thereof) or any Debtor’s

estate, except to the extent expressly provided in the Asset Purchase Agreement or otherwise

agreed in writing by the Purchaser in its sole and absolute discretion.

         W.        No Sub Rosa Plan. The Sale neither impermissibly restructures the rights of the

Debtors’ creditors nor impermissibly dictates the terms of a Chapter 11 plan of the Debtors. The

Sale does not constitute a sub rosa or de facto plan of reorganization or liquidation.

         X.        Wind-Down. The Excluded Cash and the Wind-Down Budget (each as defined in

the Asset Purchase Agreement) will provide for, among other things and in accordance with the

Wind-Down Budget, the payment of certain professional and U.S. trustee fees and other agreed

wind-down expenses, and will permit the Debtors to implement an orderly and responsible

wind-down of the Debtors’ estates. The Debtors shall deliver any Surplus Cash (as defined in the

Asset Purchase Agreement) to Purchaser promptly following the date any such Cash and Cash

Equivalents (as defined in the Asset Purchase Agreement) become Surplus Cash pursuant to the

Asset Purchase Agreement.

         Y.        Single, Integrated Transaction. Entry of this Sale Order approving the Asset

Purchase Agreement and all provisions of this Sale Order and the Asset Purchase Agreement are

a necessary condition precedent to the Purchaser consummating the Sale. The provisions of this

Sale Order and the Asset Purchase Agreement and the transactions contemplated hereby and

thereby are inextricably linked and technically and collectively constitute a single, integrated

transaction.

         Z.        Consummation is Legal, Valid, and Authorized. The consummation of the Sale is

legal, valid, and properly authorized under all applicable provisions of the Bankruptcy Code,




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including, without limitation, sections 105(a), 363(b), 363(f), 363(m), 365(b), and 365(f) of the

Bankruptcy Code, and all of the applicable requirements of such sections have been satisfied.

         AA.       Legal and Factual Bases. The legal and factual bases set forth in the Motion and

at the Sale Hearing establish just cause for the relief granted herein.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

1. Approval of the Motion

         1.1.      The relief requested in the Motion is granted as set forth herein.

         1.2.      Any and all objections and responses to the Motion, the entry of this Sale Order,

or the relief granted herein (other than Cure Objections and Adequate Assurance Objections

identified in Exhibit C hereto, if any) that have not been withdrawn, waived, settled, or resolved,

and all reservations of rights included therein, are hereby overruled and denied on the merits.

Notwithstanding anything in this Sale Order to the contrary, all Cure Objections and Adequate

Assurance Objections listed on Exhibit C, if any, are reserved. All Entities notified or deemed

notified of the relief sought in the Motion and set forth in this Sale Order that failed to timely

object thereto are deemed to consent to such relief.

         1.3.      Notice of the Motion, the Bidding Procedures Order, the Sale Hearing, and the

Sale was fair and equitable under the circumstances and complied in all respects with section

102(1) of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006.

         1.4.      The Court’s findings of fact and conclusions of law in the Bidding Procedures

Order are incorporated herein by reference.

2. Approval of the Sale

         2.1.      The Asset Purchase Agreement and all other ancillary documents, all of the terms

and conditions thereof, and the Sale are hereby approved in all respects.



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         2.2.      Pursuant to sections 363 and 365 of the Bankruptcy Code, entry by the Debtors

into the Asset Purchase Agreement is hereby authorized and approved as a valid exercise of the

Debtors’ business judgment. Pursuant to sections 105, 363, and 365 of the Bankruptcy Code, the

Debtors are authorized to perform under and make all payments and satisfy all other obligations

required by the Asset Purchase Agreement and all other ancillary documents as and when due

thereunder without further order of the Court. Pursuant to section 363(b) of the Bankruptcy

Code, the Debtors, acting by and through their existing agents, representatives, and officers, are

authorized, without further order of the Court, to take any and all actions necessary or appropriate

to: (a) consummate and close the Sale pursuant to and in accordance with the terms and

conditions of the Asset Purchase Agreement; (b) transfer and assign all right, title, and interest to

and in all Purchased Assets in accordance with the terms and conditions of the Asset Purchase

Agreement; and (c) perform under, consummate, and implement the Asset Purchase Agreement

and all additional instruments and documents that may be reasonably necessary or desirable to

implement the Sale, including any deeds, assignments, bills of sale, stock powers, transfers of

membership interests and other instruments of transfer, or other ancillary documents as may be

reasonably necessary or appropriate to the performance of the obligations contemplated by the

Asset Purchase Agreement. Neither the Purchaser nor any Debtor shall have any obligation to

proceed with the Closing under the Asset Purchase Agreement until all conditions precedent to

its obligations to do so have been met, satisfied, or waived in accordance with the terms of the

Asset Purchase Agreement.

         2.3.      The Debtors are authorized to cause to be filed with the secretary of state of any

state or other applicable officials of any Governmental Units (as defined in section 101(27) of the

Bankruptcy Code) any and all certificates, agreements, or amendments necessary or appropriate



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to effectuate the transactions contemplated by the Asset Purchase Agreement, any related

agreements, and this Sale Order, including amended and restated certificates or articles of

incorporation and by-laws or certificates or articles of amendment, and all such other actions,

filings, or recordings as may be required under applicable law or as any officer of any Debtor

may determine are necessary or appropriate. The execution of any such document or the taking

of any such action shall be, and hereby is, deemed conclusive evidence of the authority of such

person to so act.

         2.4.      The terms and provisions of the Asset Purchase Agreement and this Sale Order

shall be binding in all respects upon, and shall inure to the benefit of, the Debtors, their estates,

and their creditors (whether known or unknown), the Purchaser, and each of their respective

Affiliates, successors, and assigns, and any affected third parties, including, without limitation,

all Entities asserting Encumbrances in, on, to, or against any of the Purchased Assets

(collectively, the “Bound Parties”) (provided, however, that no Bound Party other than the

Debtors and the Purchaser shall be deemed a party to, or a third-party beneficiary of, the Asset

Purchase Agreement or entitled to assert directly any rights thereunder), including, without

limitation, following any subsequent appointment of a trustee, examiner, or receiver with respect

to any Debtor or its estate, and all terms and provisions of the Asset Purchase Agreement shall

likewise be binding on such trustee, examiner, or receiver. The provisions of this Sale Order and

the terms and conditions of the Asset Purchase Agreement shall survive the entry of any order

that may be entered confirming or consummating any Chapter 11 plan for any Debtor, converting

any of the Cases to a case under Chapter 7 of the Bankruptcy Code, or dismissing any of the

Cases or any Superseding Case, and nothing contained in any such order or plan shall alter,

conflict with, or derogate from the provisions of this Sale Order or the Asset Purchase



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Agreement.         To the extent of any conflict between this Sale Order or the Asset Purchase

Agreement, on the one hand, and such future plan or order, on the other hand, the terms of this

Sale Order and the Asset Purchase Agreement shall control.

3. Sale and Transfer of Assets

         3.1.      Pursuant to sections 105(a), 363(b), 363(f), 365(b), and 365(f) of the Bankruptcy

Code, and pursuant to and except to the extent otherwise set forth in the Asset Purchase

Agreement (including with respect to Assumed Liabilities and Permitted Encumbrances), the

Purchased Assets shall be transferred free and clear of all Encumbrances and Excluded

Liabilities, with all Encumbrances in, on, to, or against any Purchased Assets to attach to the

proceeds (including all amounts paid by Purchaser under the Asset Purchase Agreement) of the

Sale in the order of their priority and with the same validity, force, and effect that they had

against the Purchased Assets immediately prior to the Closing but subject to any claims and

defenses the Debtors may possess with respect thereto. Those holders of Encumbrances who did

not object (or whose objections were withdrawn or consensually resolved) to the Sale are deemed

to have consented to the Sale being free and clear of their Encumbrances pursuant to section

363(f)(2) of the Bankruptcy Code. Those holders of Encumbrances who did object could be

compelled in a legal or equitable proceeding to accept money satisfaction of such Encumbrances

pursuant to section 363(f)(5) of the Bankruptcy Code or fall within one or more of the other

subsections of section 363(f) of the Bankruptcy Code and, therefore, are adequately protected by

having their Encumbrance attach, pursuant to the terms of this Sale Order, solely to the proceeds

of the Sale ultimately attributable to the Purchased Assets in, on, to, or against which they had,

prior to the Closing, an Encumbrance.




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         3.2.      Notwithstanding anything in the Asset Purchase Agreement to the contrary, (a) the

Purchased Assets shall not include (i) Avoidance Actions against any “insider” (as defined in

section 101(31) of the Bankruptcy Code) or (ii) other claims or causes of action to be transferred

to the Liquidation Trust referred to, and as set forth, in the Committee Settlement Term Sheet

attached hereto as Exhibit D (the “Committee Settlement Term Sheet”) and (b) Purchaser shall

not prosecute or assert, and agrees to waive, all non-insider Avoidance Actions that are

Purchased Assets except for purposes of set off against claims of customers, vendors, and other

creditors who do not continue to do business with the Purchaser after the Closing Date that

constitute Assumed Liabilities under the Asset Purchase Agreement, and Purchaser shall not be

entitled to any affirmative recovery on account of any such Avoidance Actions. The sale of all

non-insider Avoidance Actions, rights, claims, credits, settlement proceeds, causes of action or

rights of setoff against third parties (including for the avoidance of doubt, those arising under, or

otherwise relating to, the Assigned Contracts), including all rights under vendors’,

manufacturers’, and contractors’ warranties, indemnities, and guarantees, in each case to the

extent comprising Purchased Assets pursuant to the Asset Purchase Agreement, is hereby

approved.

         3.3.      Conditioned upon the occurrence of the Closing, this Sale Order shall be

construed and shall constitute for all purposes a full and complete general assignment,

conveyance, and transfer of all of the Purchased Assets and a bill of sale transferring all of the

Debtors’ right, title, and interest in and to such Purchased Assets pursuant to the terms and

conditions set forth in the Asset Purchase Agreement. For the avoidance of doubt, the Excluded

Assets are not among the Purchased Assets, and the Excluded Liabilities are not among the

Assumed Liabilities.



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         3.4.      All Entities are prohibited from taking any action to adversely affect or interfere

with the ability of the Debtors to transfer the Purchased Assets to the Purchaser in accordance

with the Asset Purchase Agreement and this Sale Order or, following the Closing, the ability of

the Purchaser to own, possess, use, or convey the Purchased Assets.

         3.5.      Subject to the terms of the Asset Purchase Agreement, the Purchaser is hereby

authorized in connection with the consummation of the Sale to transfer or direct the transfer of

any or all of the Purchased Assets (including the Assigned Contracts) or any rights to acquire any

Purchased Assets (including Assigned Contracts) to its direct and indirect subsidiaries in such

manner as the Purchaser, in its sole and absolute discretion, deems appropriate and to assign,

sublease, sublicense, transfer, or otherwise dispose of any of the Purchased Assets (including the

rights under any Assigned Contract) to its direct and indirect subsidiaries with all of the rights

and protections accorded under this Sale Order and the Asset Purchase Agreement. The Debtors

shall cooperate with and take all actions reasonably requested by the Purchaser to effectuate any

of the foregoing.

         3.6.      The transfer of the Purchased Assets to the Purchaser and/or its designee(s)

pursuant to the Asset Purchase Agreement and the consummation of the Sale (a) do not require

any consents (beyond entry of this Sale Order) other than as specifically provided for in the Asset

Purchase Agreement, (b) constitute a legal, valid, and effective transfer of all of the Debtors’

right, title, and interest in and to the Purchased Assets (notwithstanding any requirement for

approval or consent by any Entity under or pursuant to any otherwise applicable law, agreement,

or governing document), and (c) shall vest the Purchaser with all right, title, and interest of the

Debtors in and to the Purchased Assets as set forth in the Asset Purchase Agreement free and




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clear of all Encumbrances of any kind or nature whatsoever (except to the extent expressly set

forth in the Asset Purchase Agreement).

         3.7.      To the maximum extent permitted under applicable law, the Purchaser and/or its

designee(s), as applicable, shall be authorized, as of and after the Closing, to operate under any

license, permit, registration, and governmental authorization or approval of the Debtors

constituting Purchased Assets, and all such licenses, permits, registrations, and governmental

authorizations and approvals are deemed to have been and hereby are directed to be, transferred

to the Purchaser or its designee(s) as of the Closing. To the extent provided by section 525 of the

Bankruptcy Code, no Governmental Unit may revoke or suspend any grant, permit, or license

relating to the operation of the Purchased Assets sold, transferred, assigned, or conveyed to

Purchaser or its designee(s) on account of the filing or pendency of these Cases or the

consummation of the Sale. Each and every federal, state, and local governmental agency or

department is hereby authorized to accept any and all documents and instruments necessary and

appropriate to consummate the Sale. This Sale Order is deemed to be in recordable form

sufficient to be placed in the filing or recording system of each and every federal, state, or local

government agency, department, or office.

         3.8.      All Entities that presently or as of the Closing are in possession of some or all of

the Purchased Assets (wherever located) are hereby directed to surrender possession of such

Purchased Assets to the Purchaser or its designee on the Closing Date.

         3.9.      Except as otherwise expressly provided in the Asset Purchase Agreement or this

Sale Order, no Entity shall assert or pursue any Encumbrance against the Purchaser or any of its

Affiliates, assets, or property, directly or indirectly, in any manner whatsoever. Without limiting

the foregoing, effective as of the Closing, and except as otherwise expressly provided in the



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Asset Purchase Agreement, all Entities, including all lenders, debt security holders, equity

security holders, governmental, tax and regulatory authorities, non-debtor counterparties to

executory contracts and unexpired leases, other contract counterparties, customers, licensors,

litigation claimants, employees and former employees, and trade or other creditors, hereby are

forever barred and estopped from asserting any claims or other Encumbrances (whether legal or

equitable, matured or unmatured, contingent or noncontingent, liquidated or unliquidated,

asserted or unasserted, whether arising prior to or subsequent to the commencement of these

Cases, and whether imposed by agreement, understanding, law, equity or otherwise) against the

Purchaser or the Purchased Assets, including, without limitation, taking any of the following

actions with respect to or based on such claim or other Encumbrance: (a) commencing or

continuing in any manner any action or other proceeding against the Purchaser or any of its

Affiliates, assets or properties; (b) enforcing, attaching, collecting, or recovering in any manner

any judgment, award, decree, or order against the Purchaser or any of its Affiliates, assets, or

properties; (c) creating, perfecting, or enforcing any Encumbrance against the Purchaser or any of

its Affiliates, assets or properties; (d) asserting an Encumbrance as a setoff or subrogation of any

kind against any obligation due the Purchaser or any of its Affiliates; (e) commencing or

continuing any action in any manner or place that does not comply, or is inconsistent, with the

provisions of this Sale Order, the Asset Purchase Agreement, or any other agreements or actions

contemplated by or taken in respect of the Asset Purchase Agreement; or (f) interfering with,

preventing, restricting, prohibiting, or otherwise enjoining the consummation of the Sale.

Notwithstanding anything herein to the contrary, the relief provided for in this Paragraph 3.9

shall not include any Assumed Liabilities.




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         3.10.     Neither the Purchaser nor any of its Related Parties is, has, will be, or will have

been, and none shall be deemed: (a) a “successor” in any respect to any Debtor or its estate as a

result of the consummation of the Sale or any other event occurring in the Cases under any theory

of law or equity; (b) to have, de facto or otherwise, merged or consolidated with or into any

Debtor or its estate; (c) to have a continuity of enterprise with any Debtor, or (d) a continuation

or substantial continuation of any Debtor or any enterprise of any Debtor. By consummating the

Sale, the Purchaser shall not be assuming, nor be deemed to have assumed, or in any way be

responsible for any liability or obligation of any Debtor or its estate, including, without

limitation, any bulk sale law, successor liability, or liability or responsibility for any claim

against any Debtor or its insider, except to the extent otherwise expressly provided in the Asset

Purchase Agreement with respect to an Assumed Liability or Permitted Encumbrance and with

respect to the Purchaser’s obligations with respect to the Designation Rights Assets. Except to

the extent otherwise set forth in the Asset Purchase Agreement with respect to Assumed

Liabilities, Permitted Encumbrances, and the Purchaser’s obligations with respect to Designation

Rights Assets, the transfer of the Purchased Assets (including the Assigned Contracts) to the

Purchaser under the Asset Purchase Agreement shall not result in the Purchaser, any of its

Related Parties, or the Purchased Assets, having any liability or responsibility whatsoever with

respect to, or being required to satisfy in any manner, whether at law or in equity, whether by

payment, setoff, or otherwise, directly or indirectly (a) any claim against any Debtor or any

insider of a Debtor; (b) any Encumbrance, or (c) any liability or responsibility of any Debtor.

         3.11.     Without limiting the effect or scope of the foregoing, except to the extent

expressly provided in the Asset Purchase Agreement, as of the Closing, the Purchaser and its

Related Parties shall, to the maximum extent permitted by applicable law, have no successor or



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vicarious liabilities of any kind or character with respect to any Purchased Assets, including,

without limitation any liability related to: (a) any employment or labor agreements or the

termination thereof; (b) any pension, welfare, compensation, or other employee benefit plans,

agreements, practices, and programs of or related to any Debtor or any Debtor’s Affiliates,

predecessors, or current or former employees (or the termination of any of the foregoing)

(including, without limitation, any claims belonging to or assertable by the Pension Benefit

Guaranty Corporation for unfunded benefit liabilities, minimum funding requirements, due and

unpaid plan contributions, premiums, and interest, and any other charges on each of the

foregoing); (c) any Debtor’s business operations or the cessation thereof; (d) any litigation

involving one or more of the Debtors; (e) any claims of any former employees of any Debtor or

its predecessor; (f) any employee, workers’ compensation, occupational disease, unemployment,

or temporary disability related law; and (g) any claims that might otherwise arise under or

pursuant to (in each case (as applicable), as amended): (i) the Employee Retirement Income

Security Act of 1974; (ii) the Fair Labor Standards Act; (iii) Title VII of the Civil Rights Act of

1964; (iv) the Federal Rehabilitation Act of 1973; (v) the National Labor Relations Act; (vi) the

Worker Adjustment and Retraining Notification Act of 1988; (vii) the Age Discrimination in

Employment Act of 1967; (viii) the Americans with Disabilities Act of 1990; (ix) the Family

Medical Leave Act; (x) the Labor Management Relations Act; (xi) the Older Workers Benefit

Protection Act; (xii) the Equal Pay Act; (xiii) the Consolidated Omnibus Budget Reconciliation

Act of 1985; (xiv) the Multiemployer Pension Plan Amendments Act of 1980; the Pension

Protection Act; (xv) state and local discrimination laws; (xvi) state and local unemployment

compensation laws or any other similar state and local laws; (xvii) state workers’ compensation

laws; (xviii) any other state, local or federal employee benefit laws, regulations, or rules or other



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state, local, or federal laws, regulations, or rules relating to wages, benefits, employment, or

termination of employment with any Debtor or any predecessors; (xix) any antitrust laws; (xx)

any product liability or similar laws, whether state or federal or otherwise; (xxi) any

environmental laws, rules, or regulations, including, without limitation, under the

Comprehensive Environmental Response, Compensation, and Liability Act, 42 U.S.C. §§ 9601,

et seq., or similar state statutes; (xxii) any bulk sales or similar laws; (xxiii) any federal, state, or

local tax statutes, regulations, or ordinances, including, without limitation, the Internal Revenue

Code of 1986; and (xxiv) any common law doctrine of de facto merger or successor or transferee

liability, in each case now existing or hereafter arising, whether asserted or unasserted, fixed or

contingent, liquidated or unliquidated, with respect to any Debtor, any obligation of any Debtor,

or the Purchased Assets, including, without limitation, liabilities on account of any taxes arising,

accruing, or payable under, out of, or in connection with, or in any way relating to, any Purchased

Assets (including any Assigned Contract) or the Asset Purchase Agreement.

         3.12.     Except as expressly set forth in the Asset Purchase Agreement with respect to

Assumed Liabilities, Permitted Encumbrances, and the Purchaser’s obligations with respect to

the Designation Rights Assets, it is expressly ordered and directed that the sale of the Purchased

Assets is free and clear of any and all unemployment compensation taxes and any related

contribution and reimbursement obligations of any Debtor, and all state and labor agencies shall

treat the Purchaser as a “new employer” in all respects and for any applicable tax rates and

contribution and reimbursement obligations and “experience rates” as of and after the Closing

(and each state unemployment compensation law agency or department shall be prohibited from

treating the Purchaser as a successor of any Debtor for any contribution rates, benefit charges,

benefit rates, experience rates, or similar charges or taxes).



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4. Assumption, Assignment, and Sale of Executory Contracts and Unexpired Leases

         4.1.      Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, and subject to

and conditioned upon the occurrence of the Closing, and subject to Paragraphs 4.8 and 4.16

hereof, the Debtors’ assumption, assignment, and sale to the Purchaser, and the Purchaser’s

assumption and purchase on the terms set forth in the Asset Purchase Agreement of the Assigned

Contracts, are hereby approved in their entirety, and the requirements of section 363 and 365 of

the Bankruptcy Code with respect thereto are hereby deemed satisfied. Subject to Paragraphs 4.8

and 4.16 hereof, the Debtors are hereby authorized in accordance with sections 105(a), 363, and

365 of the Bankruptcy Code to (a) assume, assign, and sell to the Purchaser, effective as of the

Closing (or thereafter pursuant to the Asset Purchase Agreement) the Assigned Contracts free

and clear of all Encumbrances of any kind or nature whatsoever and (b) execute and deliver to

the Purchaser such documents or other instruments as may be necessary or reasonably requested

by the Purchaser to assign and transfer the Assigned Contracts to the Purchaser.

         4.2.      Upon the date that each Assigned Contract is assumed, assigned, and sold

pursuant to the Asset Purchase Agreement, the Purchaser shall, in accordance with sections 363

and 365 of the Bankruptcy Code, be fully and irrevocably vested with all right, title, and interest

in, to, and under such Assigned Contract. The Debtors shall cooperate with and take all actions

reasonably requested by the Purchaser to effectuate the foregoing, as further provided in the

Asset Purchase Agreement.          The Purchaser shall likewise cooperate with the Debtors and

otherwise comply with the terms and conditions of the Asset Purchase Agreement in relation to

any Designation Rights Assets, including the payment of all costs and expenses in connection

with the operation of any Designation Rights Assets to the extent required by Section 1.5(b) of

the Asset Purchase Agreement.



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         4.3.      The Assigned Contracts (including, for the avoidance of doubt, any

non-disclosure agreement entered into by any Debtor in connection with the marketing of the

Purchased Assets that constitutes an Assigned Contract) shall be transferred to, and remain in full

force and effect for the benefit of, the Purchaser notwithstanding any provision in any such

Assigned Contract (including those of the type described in sections 365(b)(2) and 365(f) of the

Bankruptcy Code) that prohibits, restricts, or conditions such assignment or transfer or requires

any non-debtor counterparty to consent thereto.

         4.4.      Pursuant to section 365(f) of the Bankruptcy Code, the assignment and sale by the

Debtors to the Purchaser of any Assigned Contract shall not be a default thereunder. Any

provisions in any Assigned Contract that prohibit or condition the assignment and sale of such

Assigned Contract or allow the non-debtor counterparty to such assigned Contract to terminate,

recapture, impose any penalty or condition on renewal or extension, purport to require the

consent of any non-debtor counterparty, or modify any term or condition, in each case upon the

assignment and sale of such Assigned Contract, constitute unenforceable anti-assignment

provisions that are void and of no force and effect with respect to the assignment and sale of the

Assigned Contract to the Purchaser. All Assigned Contracts shall remain in full force and effect

following their assignment and sale to the Purchaser, without existing default(s), subject only to

payment by the Purchaser of the Determined Cure Cost.

         4.5.      Subject to Paragraphs 4.8 and 4.16 hereof, all other requirements and conditions

under sections 363 and 365 of the Bankruptcy Code for the assumption by the Debtors and

assignment and sale to the Purchaser of the Assigned Contracts (including the provision of

adequate assurance of future performance within the meaning of sections 365(b)(1)(C), 365(b)(3)

(to the extent applicable), and 365(f)(2)(B) of the Bankruptcy Code) have been satisfied.



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         4.6.      The rights of the Purchaser to modify the lists of Assigned Contracts and

Non-Assigned Contracts (as defined in the Asset Purchase Agreement) after the date of this Sale

Order as set forth in Section 1.5 of the Asset Purchase Agreement are hereby approved and shall

survive confirmation of any Chapter 11 plan, notwithstanding sections 365(d)(2) and 365(d)(4)

or any similar provision of the Bankruptcy Code. Without limiting the foregoing, as set forth in

Section 1.5 of the Asset Purchase Agreement, the Purchaser may (a) designate any Potential

Assigned Contract as an Assigned Contract at any point, including following Closing, prior to the

earlier of (i) the applicable Designation Deadline and (ii) the entry of an order of the Court

approving the rejection of such contract, and (b) designate any Potential Assigned Contract as a

Non-Assigned Contract at any point, including following Closing, prior to the earlier of (i) the

applicable Designation Deadline and (ii) the assumption, assignment, and sale of such contract.

Any Potential Assigned Contract that is not designated as either an Assigned Contract or a

Non-Assigned Contract at least one Business Day (as defined in the Asset Purchase Agreement)

prior to the Closing shall constitute a Designation Rights Asset until the earliest of the

Purchaser’s designation of such contract as an Assigned Contract or Non-Assigned Contract, the

applicable Designation Deadline, the entry of an order of the Court approving the rejection of

such contract, or the assumption and assignment of such contract. Following Closing, with

respect to any Designation Rights Asset that has not been rejected by the Debtors post-Closing

and as to which the Designation Deadline has not passed, upon written notice(s) from the

Purchaser to the Debtors, the Debtors are hereby authorized and directed to take all actions

reasonably necessary to assume, assign, and sell to the Purchaser all such executory contracts and

unexpired leases as set forth in the notice(s). Notwithstanding anything in this Sale Order to the

contrary, on the date any Designation Rights Asset is assumed, assigned, and sold to the



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Purchaser, such Contract shall thereafter be deemed a Purchased Asset for all purposes under this

Sale Order and the Asset Purchase Agreement.

         4.7.      Exhibit B attached hereto lists Potential Assigned Contracts for which either (a)

no Cure Objections were timely filed with the Court, (b) a Cure Objection was filed but has since

been withdrawn or resolved, or (c) informal responses were received and resolved by mutual

written agreement among the Purchaser, the Debtors, and the applicable non-debtor counterparty.

The Determined Cure Costs for the Potential Assigned Contracts listed on Exhibit B are hereby

fixed at the amounts set forth therein, and the non-debtor counterparties to such Potential

Assigned Contracts are forever bound by such Determined Cure Costs. For the avoidance of

doubt, the inclusion of a Potential Assigned Contract on Exhibit B shall not limit the rights of

the Purchaser under the Asset Purchase Agreement to designate such Potential Assigned Contract

as an Assigned Contract or a Non-Assigned Contract at any time prior to the applicable

Designation Deadline.

         4.8.      Any Potential Assigned Contract for which there is an unresolved Adequate

Assurance Objection or Cure Objection set forth on Exhibit C hereto shall not be assumed,

assigned, and sold to the Purchaser unless and until all such objections relating to such Potential

Assigned Contract are withdrawn or resolved by order of the Court or the applicable non-debtor

counterparty consents. Upon resolution of such Adequate Assurance Objection and/or Cure

Objection among the Purchaser, the Debtors, and the non-debtor counterparty to the applicable

Potential Assigned Contract, the Purchaser may, in its sole and absolute discretion and pursuant

to the provisions of the Asset Purchase Agreement, designate such Potential Assigned Contract

as an Assigned Contract or a Non-Assigned Contract, and the Debtors shall be authorized,

pursuant to this Sale Order and subject only to payment of the Determined Cure Cost, to assume,



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assign, and sell to the Purchaser any such Potential Assigned Contract so designated as an

Assigned Contract without the need for further order of the Court.

         4.9.      Unless the Purchaser and the applicable non-debtor counterparty agree to different

terms, pursuant to sections 365(b)(1)(A) and (B) of the Bankruptcy Code, the Purchaser shall pay

to the applicable non-debtor counterparty the Determined Cure Costs relating to any Assigned

Contracts within seven (7) days following the assumption, assignment, and sale thereof as set

forth in Section 1.5 of the Asset Purchase Agreement. The payment of the Determined Cure

Cost for any given Assigned Contract shall effect a cure of all defaults existing as of the date that

such Assigned Contract is assumed, assigned, and sold and shall compensate for any actual

pecuniary loss to the non-debtor counterparty to such Assigned Contract resulting from such

default. Upon payment of the applicable Determined Cure Costs, the non-debtor counterparties

to Assigned Contracts shall be enjoined from taking any action against the Purchaser or the

Purchased Assets with respect to any claim for cure. After the payment of the Determined Cure

Cost applicable to any Assigned Contract, the Debtors and the Purchaser shall not have any

further liabilities to the non-debtor counterparty to such Assigned Contract, other than the

Purchaser’s obligations under the Assigned Contract that become due and payable on or after the

date that such Assigned Contract is assumed, assigned, and sold to Purchaser.

         4.10.     Subject to Paragraph 4.16 hereof, any party that has not filed with the Court, and

served on the parties entitled to notice thereof, an objection to the assumption, assignment, and

sale of any Potential Assigned Contract by the applicable deadline specified in the Bidding

Procedures Order (as such date may have been modified or extended in accordance with the

terms of the Bidding Procedures Order or with the consent of the Debtors and the Purchaser) is

deemed to have consented to such assumption, assignment, and sale.



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         4.11.     As of the date of assignment and sale of an Assigned Contract to the Purchaser,

the Purchaser shall be deemed to be substituted for the applicable Debtor(s) as a party to the

Assigned Contract, and the Debtors shall be relieved, pursuant to section 365(k) of the

Bankruptcy Code, from any liability under the Assigned Contract arising from and after the date

of the assignment and sale.

         4.12.     All non-debtor counterparties to the Assigned Contracts shall cooperate and

expeditiously execute and deliver, upon the reasonable request of the Purchaser, and shall not

charge the Purchaser for, any instruments, applications, consents, or other documents that may be

required or requested by any public or quasi-public authority or other Entity to effectuate the

applicable transfers in connection with the Sale.

         4.13.     Pursuant to sections 105(a), 363, and 365 of the Bankruptcy Code, all non-debtor

counterparties to the Assigned Contracts are forever barred and permanently enjoined from

raising or asserting against the Debtors or the Purchaser any assignment fee, rent acceleration,

rent increase on account of assignment, default, breach, claim, pecuniary loss, or condition to

assignment arising under or relating to any Assigned Contract by reason of the assumption,

assignment, and/or sale of such Assigned Contract.

         4.14.     Notwithstanding any term of any Assigned Contract to the contrary, any extension

or renewal options or other rights contained in such Assigned Contract that purport to be

personal only to, or exercisable only by, the Debtor(s), a named Entity, or an Entity operating

under a specific trade name may, in each case, be freely exercised to their full extent by the

Purchaser, subject to the other applicable terms of the Assigned Contract. Any extension or

renewal options in connection with any Assigned Contract that the applicable Debtor(s) have




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sought to exercise prior to the entry of this Sale Order are deemed to have been timely and

validly exercised by the Purchaser.

         4.15.     Neither the Purchaser nor any successor of the Purchaser shall be responsible for

any Encumbrances or obligations arising out of any of the Potential Assigned Contracts that are

not ultimately assumed, assigned, and sold to the Purchaser (whether at Closing or thereafter)

under the terms of the Asset Purchase Agreement.

         4.16.     In the case of any Potential Assigned Contract that the Debtors seek to assume,

assign, and sell pursuant to the Asset Purchase Agreement that was not included in the

Assumption Notice or any Supplemental Assumption Notice served prior to the date hereof,

within three Business Days following receipt of a written notice by the Purchaser (email shall

suffice) that such Potential Assigned Contract is designated for assumption, assignment, and sale,

the Debtors shall file with the Court a Supplemental Assumption Notice and serve it on each of

the following parties (each, a “Supplemental Assumption Notice Service Party”): (a) each

non-debtor counterparty to any Potential Assigned Contract (and their counsel, if known) listed

on such Supplemental Assumption Notice, (b) the U.S. Trustee, (iii) counsel to the Committee,

and (iv) counsel to the Purchaser.         The Debtors shall also serve on affected non-debtor

counterparties and their respective counsel, if known, by electronic mail (if available) or

overnight mail adequate assurance information for the Purchaser. Any non-debtor counterparty

to a Potential Assigned Contract listed on such Supplemental Assumption Notice may object to

the assumption, assignment, and sale of the Potential Assigned Contract solely with respect to the

Debtor Asserted Cure Amount contained therein or adequate assurance of future performance

but, in each case, only to the extent such objection could not have been raised prior to the Cure

Objection Deadline (as defined in the Bidding Procedures Order). Any such objection must be in



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writing and filed and served so that it is actually received by the Debtors and the Supplemental

Assumption Notice Service Parties no later than 14 calendar days after the date the Debtors

served the applicable Supplemental Assumption Notice. Any non-debtor counterparty to a

Potential Assigned Contract included on a Supplemental Assumption Notice that does not timely

file and serve on the Supplemental Assumption Notice Service Parties a permitted objection

thereto shall be deemed to have consented to the assumption, assignment, and sale of such

Potential Assigned Contract and the Debtor Asserted Cure Amount set forth with respect to such

Potential Assigned Contract in the Supplemental Assumption Notice. If an objection to a

Supplemental Assumption Notice permitted by this Paragraph is timely filed and served on the

Supplemental Assumption Notice Service Parties in the manner specified above, and unless the

parties agree otherwise in writing, a hearing will be scheduled by the Court to consider that

objection.         With respect to any Potential Assigned Contract set forth in a Supplemental

Assumption Notice that is ultimately assumed, assigned, and sold to the Purchaser pursuant to

the terms of the Asset Purchase Agreement and this Sale Order, the date of such assumption,

assignment, and sale shall be deemed to have occurred as of the date of filing of the

Supplemental Assumption Notice, unless otherwise agreed to by the Purchaser and the

non-debtor counterparty to such Assigned Contract.

         4.17.      Notwithstanding anything herein to the contrary, in the event and to the extent that

any amounts come due under any Potential Assigned Contracts constituting a Designation Rights

Asset between the Closing and the designation of such Potential Assigned Contract for

assumption, assignment and sale, or rejection, the Purchaser shall be liable for such amounts to

the extent required by Section 1.5(b) of the Asset Purchase Agreement.




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5. Additional Provisions

         5.1.      Committee Settlement; Amendments to Asset Purchase Agreement.             The

Committee Settlement Term Sheet, including the amendments to the Asset Purchase Agreement

set forth therein, is hereby approved. The Debtors consent and agree to the terms of such

Committee Settlement Term Sheet. To the extent of any inconsistency with the terms herein and

the Committee Settlement Term Sheet, the Committee Settlement Term Sheet shall control.

Further, the Wind-Down Funding Amount (as defined in the Committee Settlement Term Sheet)

shall fund the Wind-Down Budget (as defined in the Asset Purchase Agreement and as attached

as Exhibit 1 to the Committee Settlement Term Sheet) and be used on a line-item basis except

for such variances as may be agreed to in writing by the Purchaser and the Committee or, after

the effective date of a Plan (as defined in the Committee Settlement Term Sheet), the Purchaser

and the Trustee (as defined in the Committee Settlement Term Sheet). With respect to the

consent of the Purchaser or the Committee for such variances, such consent shall not be

unreasonably withheld, conditioned or delayed. For the avoidance of doubt, the aggregate

Wind-Down Funding Amount shall not be increased under any circumstances. Further, the final

amount of theIn addition to the foregoing in this Paragraph 5.1, the Asset Purchase Agreement is

amended as follows: the reference to “July 25, 2023” in the definition of Outside Date in Section

3.4(b) of the Asset Purchase Agreement is amended to “August 1, 2023” and (b) the reference to

“$225,000,000” in the definition of Prepetition Debt Bid Amount (as defined in Section 2.1(ii) of

the Asset Purchase Agreement) and any resulting deficiency claim of the Prepetition Secured

Parties may be adjusted up or down as agreed upon by the Purchaser and the Committee, after

consultation with the Debtors, to reflect the fair market value of the Purchased Assets, for tax

purposes is amended to “$205,000,000”.



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         5.2.      PBGC Settlement. Subject to the occurrence of the Closing: (a) The Debtors, the

Purchaser, the Committee, and the Pension Benefit Guaranty Corporation (the “PBGC”) shall

reasonably cooperate in connection with the termination of the Stanadyne LLC Pension Plan (the

“Pension Plan”), which, for the avoidance of doubt, is not an Assumed Liability under the Asset

Purchase Agreement. The Debtors shall store and preserve all documents and records relating to

the Pension Plan (“Pension Plan Documents”) until PBGC has completed its investigation

regarding the Pension Plan. If any Pension Plan Documents are transferred to the Purchaser

either (i) the Debtors shall retain copies to comply with this provision of this Sale Order or (ii)

the Purchaser shall store and preserve all transferred documents and records relating to the

Pension Plan until PBGC has completed its investigation regarding the Pension Plan. Pension

Plan Documents may be in hard copy or electronic form and may include, but are not limited to,

any Pension Plan governing documents, actuarial documents, records and statements of the

Pension Plan’s assets, board resolutions relating to the Pension Plan, and employee and

personnel records of the employees who participate in the Pension Plan. The Debtors and/or

Purchaser, as the case may be, shall not abandon or destroy any Pension Plan Documents and

shall make the Pension Plan Documents available to PBGC for inspection and copying until

PBGC has completed its investigation regarding the Pension Plan. For the avoidance of doubt,

the Purchaser’s obligation to store and preserve Pension Plan Documents pursuant to this

paragraph shall only be with respect to Pension Plan Documents actually transferred to the

Purchaser; (b) The Purchaser shall pay (or cause to be paid) $750,000 to the PBGC within five

(5) Business Days following the Closing; (c) The PBGC shall release (i) Purchaser, (ii) Cerberus

Business Finance, LLC as administrative agent and collateral agent (in such capacity, the




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“Prepetition Agent”) under the Financing Agreement4, (iii) the lenders under the Financing

Agreement (the “Prepetition Secured Lenders” and with the Prepetition Agent, the “Prepetition

Secured Parties”), and (iv) each of their respective affiliates, from all current and future liabilities

under Title IV of the Employee Retirement Income Security Act of 1974 arising from or related

to the Pension Plan, including, without limitation, the unfunded benefit liabilities, due and

unpaid minimum funding contributions, premiums, and interest and any other charges on each of

the foregoing; (d) If the Purchaser or the Prepetition Secured Parties enter into a transaction, or

series of transactions, selling the Purchaser, or all or substantially all of the assets of the

Purchaser to an unaffiliated third party at any time prior to the fifth (5th) anniversary of the

Closing (a “Subsequent Sale Transaction”), the Purchaser shall pay the Additional Payment (as

defined below), if any, to the PBGC within five (5) Business Days following the closing date of

such Subsequent Sale Transaction. If the Additional Payment amount calculated is zero or

negative, then no Additional Payment shall be due.                   For purposes of this paragraph, (i)

“Additional Payment” means the lesser of (x) 10% of all Net Proceeds (as defined below)

received by the Purchaser or Prepetition Secured Parties on account of a Subsequent Sale

Transaction(s), and (y) $2,500,000; and (ii) “Net Proceeds” means the amount of aggregate cash

proceeds actually received by the Purchaser (net of any customary transactions costs, expenses or

taxes paid therefrom) in excess of: (1) the outstanding principal, interest and other obligations

owed by the Debtors to the Prepetition Secured Parties pursuant to the Financing Agreement as

of immediately prior to the Closing, plus (2) an amount accruing thereon at an annual rate of

7.5% from and after the Closing, plus (3) the amount of any direct or indirect debt or equity

financing or other investment by any of the Prepetition Secured Parties or any of their respective


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     “Financing Agreement” means that certain Financing Agreement dated as of May 2, 2017, as amended from time
    to time, by and among the Debtors, the Prepetition Agent and the lenders thereunder.

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affiliates in Purchaser after the Closing, plus (4) an amount accruing thereon at an annual rate of

7.5% from and after date such financing or other investment is made. The Purchaser will provide

PBGC with no less than 5 business days’ prior notice of the closing of a Subsequent Sale

Transaction that is likely to result in an Additional Payment to PBGC (“Prior Notice”); provided,

that the Purchaser shall not have any liability to PBGC for the failure to give Prior Notice if

PBGC is not materially harmed by such failure; provided, further, that Purchaser shall not be

required to provide Prior Notice to the extent Purchaser is prohibited from doing so by a

confidentiality agreement or applicable law, and if Purchaser does not provide Prior Notice, it

shall provide PBGC notice of the Subsequent Sale Transaction no more than three (3) days after

the closing date; (e) The PBGC shall have an allowed unsecured claim against the Debtors’

estates in the amount of $15,538,178.33; and (f) The Initial GUC Distribution Amount (as

defined in the Committee Settlement Term Sheet) shall be paid by the Purchaser as and when

provided therein.

         5.3.      Consigned Cores. Notwithstanding anything to the contrary, nothing in this Sale

Order or the Asset Purchase Agreement transfers ownership of any Consigned Cores. For

purposes hereof, “Consigned Cores” means cores delivered to one of the Debtors by a customer

on a consignment basis in excess of such customer’s core eligibility at the time of delivery to the

Debtors.

         5.4.      Environmental Liabilities. Nothing in this Sale Order or the Asset Purchase

Agreement releases, nullifies, precludes or enjoins the enforcement of any police or regulatory

environmental liability to a governmental unit that any entity would be subject to as the post-sale

owner or operator of property after the Closing Date; provided, however, that all rights and

defenses of the Purchaser under non-bankruptcy law are preserved. Nothing in this Sale Order or



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the Asset Purchase Agreement authorizes the transfer or assignment of any governmental (a)

license, (b) permit, (c) registration, (d) authorization, or (e) approval, or the discontinuation of

any obligation thereunder, without compliance with all applicable legal requirements and

approvals under police or regulatory law. Nothing in this Sale Order divests any tribunal of any

jurisdiction it may have under police or regulatory law to interpret this Sale Order or to

adjudicate any defense asserted under this Sale Order with respect to any police or regulatory

environmental liability to a governmental unit to the extent set forth in this paragraph.

         5.5.      GM.   On June 9, 2023, General Motors LLC (together with its applicable

affiliates, “GM”) filed its Amended Response and Limited Objection to Debtors’ Notice to

Contract Parties to Potentially Assumed, Assigned, and Sold Executory Contracts and

Unexpired Leases [Docket No. 354]. Pursuant to 11 U.S.C. §§ 363(f) and 365, as of the Closing,

the Debtors are deemed to have assumed all unexpired GM purchase orders and supply

agreements (including, without limitation, the Agreement Regarding GM Purchase Contracts,

dated May 19, 2023, among GM, Stanadyne LLC, and Stanadyne Diesel Systems) issued by GM

to the Debtors (including GM’s General Terms and Conditions incorporated therein, the “GM

Contracts”) and to have assigned and sold such GM Contracts to the Purchaser. The Purchaser

agrees, as of the Closing, to assume all liabilities, claims and obligations of the Debtors under the

GM Contracts arising prior to and after the Petition Date.

         5.6.      Ford - Assignment of Sourcing Agreement. Ford Customer Service Division, a

division of Ford Motor Company (collectively, “Ford”) and Debtor Pure Power Technologies,

Inc. (“PPT”) are parties to that certain Commercial and Program Agreement entered into as of

April 26, 2022, which agreement incorporates that certain Core Commercial Agreement entered

into between the parties as of March 22, 2022 (the “CCA” and, collectively Commercial and



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Program Agreement, and together with any associated purchase orders, releases, or other

ancillary documents, the “Sourcing Agreement”). The Debtors owe monetary obligations to Ford

under the Sourcing Agreement as set forth in that certain Joint Stipulation filed of record on May

24, 2023 at Docket No. 301 and approved by the Court at Docket No. 303. Notwithstanding

anything in this Sale Order or any other order of this Court to the contrary, the Sourcing

Agreement shall constitute an Assigned Contract subject to the following terms and conditions of

assumption and assignment. Within ten (10) days following the Closing (or such longer time

period as may be agreed in writing among Ford, the Purchaser, and the Debtors), Ford, the

Debtors, and the Purchaser shall review their respective books and records and determine in good

faith the amount owed to Ford thereunder as of the date of Closing (such amount, the

“Outstanding Balance”). The Outstanding Balance shall be payable by the Purchaser to Ford in

cash and in three equal monthly installments, with the first payment due on or before the date that

is seven months from the date of Closing, the second payment due on or before the date that is

eight months from the date of Closing, and the final payment due on or before the date that is

nine months from the date of Closing. In addition, with respect to any cores returned by Ford

pursuant to the Sourcing Agreement following the date of Closing, Ford shall be permitted to

debit the amount of core refund obligations due to Ford on account of such cores against any

obligations due from Ford to the Purchaser in accordance with the terms of the Sourcing

Agreement.

         5.7.      Professional Fees. Notwithstanding anything in this Sale Order or in the Asset

Purchase Agreement to the contrary, (a) the Debtor Professional Escrow and Professional Fee

Reserve (each as defined or used in the Final Order (i) Authorizing the Use of Cash Collateral,

(ii) Granting Adequate Protection to Prepetition Secured Lenders, and (iii) Granting Related



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Relief [Docket No. 218] (the “Final Cash Collateral Order”)) shall remain in effect following the

Closing for the benefit of the Professional Persons (as defined in the Final Cash Collateral Order)

with respect to accrued and unpaid Allowed Professional Fees as of the Closing as set forth in the

Approved Budget, and such Professional Persons are authorized to be paid from the Debtor

Professional Escrow and/or Professional Fee Reserve, as applicable, for such Allowed

Professional Fees that are approved by orders entered by this Court authorizing the payment of

such amounts; (b) the accrued and unpaid fees of Ordinary Course Professionals (as defined in

the Order Pursuant to Sections 105(a), 327, 328 and 330 of the Bankruptcy Code, Bankruptcy

Rule 2014 and Local Rule 2014-1 Authorizing the Debtors to Employ Professionals Used in the

Ordinary Course of Business Effective as of the Petition Date [Docket No. 153] (the “OCP

Order”) as of the Closing and included in the Approved Budget shall be paid into the

Professional Fee Reserve at the Closing by the Debtors out of Cash Collateral (as defined in the

Final Cash Collateral Order) and such Ordinary Course Professionals are authorized to be paid

out of the Professional Fee Reserve for such permitted fees in accordance with the OCP Order;

and (c(c) accrued and unpaid U.S. Trustee fees as of the Closing and included in the Approved

Budget shall be paid into the Professional Fee Reserve at the Closing by the Debtors out of Cash

Collateral and such U.S. Trustee fees are authorized to be paid out of the Professional Fee

Reserve; and (d) the Purchaser shall pay into the Professional Fee Reserve, the Angle Advisor’s

“Minimum Fee” (in such amount as determined by order of this Court allowing such fee and

taking into account any monthly credits to such fee) within three (3) Business Days following

entry of an order of this Court approving Angle Advisors’ fees on a final basis and Angle

Advisors is authorized to be paid such amount from the Professional Fee Reserve. If, after

satisfaction in full of the amounts to be paid pursuant to clauses (a) through (cd) above, the



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Debtor Professional Escrow and/or Professional Fee Reserve have not been reduced to zero, all

remaining funds shall be delivered to the Purchaser. For the avoidance of doubt, only the

amounts set forth in (x) the Approved Budget for Professional Persons through the earlier of the

Closing and the Cash Collateral Termination Date (as defined in the Final Cash Collateral Order)

and (y) clauses (b) andthrough (cd) above, in each case, shall be deposited in the Debtor

Professional Escrow and/or Professional Fee Reserve, as applicable. For the avoidance of doubt,

neither the Purchaser nor any of the Prepetition Secured Parties (as defined in the Final Cash

Collateral Order) shall be responsible for or have any liability for the payment or reimbursement

of any fees or expenses of any Professional Person or Ordinary Course Professional, other than

such obligations specifically set forth in this paragraph.

         5.8.      Stay Relief. The automatic stay pursuant to section 362 of the Bankruptcy Code

is hereby lifted to the extent necessary, without further order of the Court, to allow the Purchaser

to (a) deliver any notice provided for in the Asset Purchase Agreement and any ancillary

document, (b) enforce the Purchaser’s rights and the Debtors’ obligations under the terms of the

Asset Purchase Agreement, and (c) take any and all actions permitted under this Sale Order, the

Asset Purchase Agreement, or any ancillary documents, in each case in accordance with the

terms and conditions thereof.

         5.9.      Bulk Transfer Laws. No bulk sales law, bulk transfer law, bulk sales tax law, or

similar law of any jurisdiction applies in any way to the Asset Purchase Agreement or the Sale.

         5.10.     Non-Interference. Following the Closing, no holder of an Encumbrance in, on, to,

or against any Debtor or Purchased Asset shall interfere with the Purchaser’s title to or use and

enjoyment of any Purchased Asset based on or related to such Encumbrance or any actions that




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the Debtors or their successors, including any Chapter 11 or Chapter 7 trustee, may take in these

Cases or any Superseding Case.

         5.11.     Authorization. The Debtors, including their respective officers, employees, and

agents, are hereby authorized to execute such documents and do such acts as are necessary or

desirable to carry out the Sale. The Debtors are hereby authorized to take all such actions as may

be necessary or reasonably requested by Purchaser to effectuate the terms of the Asset Purchase

Agreement and this Sale Order and the relief granted herein.

         5.12.     Good Faith.    The Sale contemplated by the Asset Purchase Agreement is

undertaken by the Purchaser without collusion and in good faith (as that term is defined in

section 363(m) of the Bankruptcy Code) and, accordingly, the reversal or modification on appeal

of the authorizations provided herein shall not affect the validity of the Sale (including, for the

avoidance of doubt, the assumption, assignment, and sale to the Purchaser of the Assigned

Contracts and the sale of the Purchased Assets free and clear of all Encumbrances). The

Purchaser is a good-faith purchaser within the meaning of section 363(m) of the Bankruptcy

Code and, as such, is entitled to the full protections of section 363(m) of the Bankruptcy Code.

The Purchaser has not colluded with any of the other bidders, potential bidders, or any other

parties interested in the Purchased Assets and, therefore, the sale of the Purchased Assets may

not be avoided pursuant to section 363(n) of the Bankruptcy Code.

         5.13.     Cooperation. From time to time, as and when requested by the Purchaser or any

Debtor, each party to the Asset Purchase Agreement shall execute and deliver, or cause to be

executed and delivered, all such documents and instruments and shall take, or cause to be taken,

all such further or other actions as such other party may reasonably deem necessary or desirable




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to consummate the Sale, including such actions as may be necessary to vest, perfect, confirm, or

record the Purchaser’s right, title, and interest in and to the Purchased Assets.

         5.14.     Scope of Approval. The failure specifically to include or reference any particular

provisions of the Asset Purchase Agreement, including any of the documents, agreements, or

instruments contemplated thereby or executed in connection therewith, in this Sale Order shall

not diminish or impair the efficacy, approval, or effectiveness of such provision, document,

agreement, or instrument, it being the intent of the Court that the Asset Purchase Agreement and

each such document, agreement, or instrument be authorized and approved in its entirety.

         5.15.     Post-Closing Claims Administration. After the Closing Date: (a) no Debtor nor

any successor in interest to any Debtor, including any Chapter 11 or Chapter 7 trustee appointed

in any of the Cases or any Superseding Case, shall consent to the allowance of any claim to the

extent it would constitute an Assumed Liability or Permitted Encumbrance without the prior

written consent of the Purchaser, and (b) the Purchaser shall have standing to object to any claim

against the Debtors and their estates to the extent that, if allowed, such claim would constitute an

Assumed Liability or Permitted Encumbrance, and the Court will retain jurisdiction to hear and

determine any such objections.

         5.16.     Notice of Sale Closing.    Within one Business Day of the occurrence of the

Closing, the Debtors shall file and serve a notice of the Closing.

         5.17.     Computation of Time Periods. All time periods set forth in this Sale Order shall

be calculated in accordance with Bankruptcy Rule 9006(a).

         5.18.     Sale Order Governs in Event of Inconsistencies. To the extent that this Sale Order

is inconsistent with any prior order or pleading with respect to the Motion in these Cases, the

terms of this Sale Order shall govern. To the extent there are any inconsistencies between the



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terms of this Sale Order and the Asset Purchase Agreement (including all ancillary documents

executed in connection therewith), the terms of this Sale Order shall govern.

         5.19.     Modifications.   The parties to the Asset Purchase Agreement may make any

non-material modifications, amendments, or supplements to the Asset Purchase Agreement and

any related agreements, documents, or other instruments in accordance with the terms thereof

without further order of the Court.

         5.20.     Non-Severability.   The provisions of this Sale Order are non-severable and

mutually dependent.

         5.21.     No Stay. Notwithstanding the provisions of the Bankruptcy Rules, including

Bankruptcy Rules 6004(h) and 6006(d), this Sale Order shall not be stayed after the entry hereof

but shall be effective and enforceable immediately upon entry, and the fourteen-day stay

provided in Bankruptcy Rules 6004(h) and 6006(d) is waived and shall not apply.

         5.22.     Retention of Jurisdiction. The Court shall retain jurisdiction to, among other

things, interpret, implement, and enforce the terms and provisions of this Sale Order and the

Asset Purchase Agreement and all related agreements, documents, and other instruments, and all

amendments thereto and waivers and consents thereunder, and to adjudicate if necessary any and

all disputes concerning or relating in any way to the Sale.




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                                     EXHIBIT A

                          ASSET PURCHASE AGREEMENT




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                                     EXHIBIT B

                                      [To come]




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                                     EXHIBIT C

                                      [To come]




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                                     EXHIBIT D

                      COMMITTEE SETTLEMENT TERM SHEET




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                                       In re Stanadyne LLC, et al.
                                 Case No. 23-10207 (Jointly Administered)
                                              Bankr. D. Del.

                                       SETTLEMENT TERM SHEET

        This term sheet (the “Term Sheet”) sets forth the terms of a comprehensive settlement in
the above-referenced chapter 11 cases (the “Chapter 11 Cases”) among the Prepetition Agent (as
defined below), the Purchaser (as defined below), and the Official Committee of Unsecured
Creditors appointed in the Chapter 11 Cases (the “Committee”1 and, collectively with the
Prepetition Agent and the Purchaser, the “Parties”) with respect to that certain Asset Purchase
Agreement, dated as of May 8, 2023, by and among the debtors in possession in the
above-captioned cases (the “Debtors”) (other than Stanadyne PPT Group Holdings, Inc.) and
Purchaser (as the same may be amended, amended and restated, supplemented, or otherwise
modified from time to time, the “APA”) and all other matters related to any challenges, claims or
causes of actions against the Prepetition Agent, the Prepetition Secured Parties (as defined
below) and/or the Purchaser under the Cash Collateral Order, the APA, or otherwise, including
such matters set forth in the section titled “Prepetition Obligations and Release of Claims”
below. Capitalized terms that are not otherwise defined herein shall have the meanings ascribed
to them in the APA.

Settling Parties                 a) The Prepetition Agent
                                 b) The Purchaser
                                 c) The Committee

                                 The term “Prepetition Agent” refers to Cerberus Business Finance,
                                 LLC, in its capacity as administrative agent and collateral agent for
                                 the lenders (the lenders together with the Prepetition Agent,
                                 collectively, the “Prepetition Secured Parties”) party to that certain
                                 Financing Agreement, dated as of May 2, 2017 (as amended,
                                 amended and restated, supplemented, or otherwise modified from
                                 time to time).

                                 The term “Purchaser” refers to Stanadyne Operating Company LLC
                                 (formerly known as S-PPT Acquisition Company LLC), in its
                                 capacity as Purchaser under the APA.

Binding Agreement;               This Term Sheet shall constitute a binding agreement among the
Conditions                       Parties; provided, the Parties rights and obligations under this Term
                                 Sheet are conditioned upon (a) entry of an order approving the Sale
                                 Order modified as necessary to reflect this Term Sheet and
                                 attaching this Term Sheet as an exhibit, and (b) the occurrence of
                                 the Closing.
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    The term “Committee” refers to the Official Committee of Unsecured Creditors appointed in the Chapter 11 Cases in
    its capacity as such and not the rights or obligations of any member serving on the Committee in its individual
    capacity.


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Settlement Amount                The Parties agree that:

                                 a) subject to the terms hereof, the Purchaser will fund (or cause to
                                    be funded) $4,000,000 (the “Settlement Amount”) comprised of
                                    (i) the Wind-Down Funding Amount, (ii) the Trust Funding
                                    Amount, and (iii) the Initial GUC Distribution Amount, each as
                                    described below;

                                 b) the Trust Funding Amount and the Initial GUC Distribution
                                    Amount shall constitute additional “Purchase Price” under the
                                    APA;

                                 c) the Settlement Amount shall be allocated and funded as
                                    follows:

                                     i) $1,000,000, which shall be the amount of “Total
                                        Disbursements” in the Wind-Down Budget2 to be finalized
                                        pursuant to Section 4.24 of the APA (the “Wind-Down
                                        Funding Amount”), and shall be funded at the Closing in
                                        accordance with the APA. The Wind-Down Budget, and
                                        any transition services agreement entered into pursuant to
                                        Section 8.16 of the APA shall be mutually acceptable to the
                                        Prepetition Agent, the Purchaser and the Committee, in
                                        consultation with the Debtors;

                                     ii) $375,000 (the “Trust Funding Amount”) to fund the
                                         operation of the Liquidating Trust (as defined below)
                                         consistent with the Liquidating Trust Agreement (as defined
                                         below), with such amount to be funded within five (5)
                                         business days following the effective date of Chapter 11
                                         plan (a “Plan”) establishing the Liquidating Trust. The Plan
                                         and documents governing the creation of the Liquidating
                                         Trust must be acceptable in form and substance to the
                                         Prepetition Agent and the Committee and may not alter or
                                         modify the terms of this Settlement Term Sheet, unless
                                         agreed to in writing by the Prepetition Agent and the
                                         Committee;

                                     iii) $2,625,000 (as such amount may be adjusted in accordance
                                          herewith, the “Initial GUC Distribution Amount”) for
                                          distribution to general unsecured creditors of the Debtors’
                                          estates other than the Prepetition Secured Parties, which
                                          amount shall be transferred to the Liquidating Trust within
                                          five (5) business days following its creation; provided,
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    The Wind-Down Budget is attached hereto as Exhibit 1.

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                             however, that if the actual costs and expenses of the matters
                             set forth in the Wind-Down Budget are less than
                             $1,000,000, such difference shall be delivered to the
                             Liquidating Trust and the amount of the Initial GUC
                             Distribution Amount shall be increased on a
                             dollar-for-dollar basis by the amount of such difference.

Purchaser Assumed     Each of the following, without duplication, shall constitute
Liabilities           “Assumed Liabilities” under the APA:

                      a) Liabilities, including Core Liabilities (as defined below), of the
                         Debtors incurred and outstanding as of the Closing Date with
                         respect to each customer of the Debtors that becomes a
                         customer of the Purchaser from and after the Closing Date;

                      b) Core Liabilities incurred and outstanding as of the Closing Date
                         with respect to customers of the Debtors that do not become
                         customers of the Purchaser from and after the Closing Date
                         solely to the extent such Core Liabilities are known as of the
                         Closing Date as (i) reflected in the Debtors’ books and records
                         or filed proofs of claim and (ii) set forth on a schedule of the
                         amounts of such Core Liabilities acceptable to the Purchaser
                         (or, if not acceptable, subject to objection by the Purchaser after
                         Closing), which schedule shall (A) separately list by customer
                         (x) the amount of such Core Liabilities as of the date that is
                         thirty (30) days prior to the Closing Date and (y) the estimated
                         amount of any incremental Core Liabilities between the date
                         that is thirty (30) days prior to the Closing Date and the Closing
                         Date and (B) be delivered by the Debtors to the Purchaser and
                         the Committee five (5) business days prior to the Closing Date,
                         provided, however, amounts with respect to the foregoing
                         clause (y) shall be subject to finalization within thirty (30) days
                         after Closing to account for continuing sales and returns during
                         such period through the Closing Date; and

                      c) Each Critical Vendor Claim (as defined in that certain Final
                         Order (I) Authorizing the Debtors to Pay Prepetition Claims of
                         (A) Domestic Critical Vendors, (B) Shippers, Warehousemen,
                         and other Lienholders, and (C) Foreign Vendors; (II)
                         Authorizing Banks to Honor and Process Related Checks and
                         Electronic Transfers; and (III) Granting Related Relief [Docket
                         No. 186]) to the extent not paid by the Debtors on or prior to the
                         Closing Date.

                      “Core Liabilities” means Liabilities of the Debtors owed to
                      customers of the Debtors as of the Closing Date in connection with

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                      the “core” refund program offered by the Debtors to certain of its
                      customers for applicable products actually and properly returned
                      and sold to the Debtors for remanufacture, provided that Core
                      Liabilities will only be Assumed Liabilities to the extent set forth
                      above in (a) and (b).

Estate Claims         Notwithstanding anything in the APA to the contrary, the Parties
                      agree that all Avoidance Actions shall be waived and shall not be
                      pursued by the Parties or any representative of any Debtor’s estate,
                      except that:

                      a) Avoidance Actions against insiders (as that term is defined in 11
                         U.S.C. § 101(31)) (“Insider Avoidance Actions”) shall not be
                         waived and shall comprise Excluded Assets; and

                      b) Avoidance Actions against non-insiders other than Go-Forward
                         Creditors (as defined below) (the “Preserved Avoidance
                         Claims”) shall not be waived and shall comprise Purchased
                         Assets under the APA; provided, however, that the Preserved
                         Avoidance Claims shall be preserved solely for the purpose of
                         permitting the Purchaser to set off such Preserved Avoidance
                         Claims against any claims of the applicable creditors (other than
                         Go-Forward Creditors) that constitute Assumed Liabilities
                         under the APA, and Purchaser shall not be entitled to any
                         affirmative recovery on account of any such Preserved
                         Avoidance Claims.

                      All commercial tort claims and causes of action belonging to the
                      Debtors’ estates (including, without limitation, any and all claims
                      the Debtors’ estates may have (i) against any officers and directors
                      of the Debtors and rights of the Debtors’ estates to any insurance
                      proceeds applicable thereto or (ii) related to or arising under or in
                      connection with that certain Contribution Agreement, dated as of
                      March 9, 2019, by and among Pure Power Technologies, Inc., Pure
                      Power Technologies, LLC, Stanadyne Parent Holdings, Inc., and
                      Stanadyne LLC, and the transactions contemplated thereby,
                      including, without limitation, any rights of the Debtors’ estates to
                      any insurance proceeds applicable thereto) other than such claims
                      against Go-Forward Creditors (as defined below) (collectively, the
                      “Non-Go-Forward Commercial Tort Claims”) shall comprise
                      Excluded Assets.

                      The Insider Avoidance Actions and the Non-Go-Forward
                      Commercial Tort Claims shall be collectively referred to herein as
                      the “Liquidating Trust Claims”. All Liquidating Trust Claims shall
                      be transferred to the Liquidating Trust on the effective date of the

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                       Liquidating Trust. The Liquidating Trustee shall have authority to
                       pursue all Liquidating Trust Claims as a representative of the
                       Debtors’ estates.

                       For the avoidance of doubt, the Parties waive all Avoidance Actions
                       and Commercial Tort Claims that the Debtors’ estates may have
                       against Go-Forward Creditors, and no Party shall be entitled to any
                       affirmative recovery or right of setoff with respect to any such
                       claims against Go-Forward Creditors.

                       The term “Go-Forward Creditors” as used herein means customers,
                       vendors, and other creditors who continue to do business with the
                       Purchaser after the Closing Date.

Designation Rights     If and solely to the extent and for so long as the Purchaser requests
Assets                 in writing that any Designation Rights Assets be maintained
                       following the Closing, the Purchaser shall fund any and all
                       maintenance costs, including lease costs and other third party costs,
                       actually incurred by the Debtors in connection with such requested
                       maintenance of the Designation Rights Assets, in accordance with
                       and solely to the extent set forth in Section 1.5(b) of the APA.

Windsor, CT Property   If and solely to the extent and for so long as the Purchaser requests
                       in writing that the Windsor, CT Property be maintained following
                       the Closing, the Purchaser shall fund the carrying costs actually
                       incurred by the Debtors in connection with such requested
                       maintenance of the Windsor, CT Property, including without
                       limitation, insurance and real property taxes.

                       If, subject to the terms of the APA, the Debtors sell the Windsor,
                       CT Property, the proceeds of such sale, net of only the costs of such
                       sale (as well as any unpaid carrying costs for which Purchaser is
                       responsible as set forth above), and incremental US Trustee fees
                       associated therewith, shall be paid to the Prepetition Agent for the
                       benefit of the Prepetition Secured Parties. The Debtors’ estates
                       shall cause such net proceeds to be delivered directly by the
                       purchaser of the Windsor, CT Property to the Prepetition Agent,
                       and the Deficiency Claim (as defined below) shall be reduced by
                       the amount of such net proceeds.

Liquidating Trust      The “Liquidating Trust” shall be:

                       a) a liquidating trust established for the benefit of the Debtors’
                          creditors and governed by a trust agreement in form and
                          substance acceptable to the Prepetition Agent and the
                          Committee (the “Liquidating Trust Agreement”);

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                                    b) administered by Brad Deitz, as trustee (the “Trustee”)3 under
                                       the supervision of the Liquidating Trust Board (as defined
                                       below) and in accordance with the terms of the Liquidating
                                       Trust Agreement;

                                    c) overseen by an oversight board consisting of two members: (i)
                                       one member appointed by the Prepetition Agent and (ii) one
                                       member appointed by the Committee (the “Liquidating Trust
                                       Board”);

                                    d) administered for the benefit of the Debtors’ unsecured creditors
                                       with respect to unsatisfied general unsecured claims and the
                                       Prepetition Secured Parties with respect to the Deficiency
                                       Claim.

                                    The Trustee shall be compensated as follows: (a) a quarterly fee of
                                    $20,000 plus (b) cash in an amount equal to 1.5% of the net
                                    proceeds of the Liquidating Trust litigation recoveries.

                                    The Liquidating Trust Agreement shall provide that, in the event of
                                    a tie in connection with any decision subject to a vote of the
                                    Liquidating Trust Board, the final decision shall be made by the
                                    Trustee.

Funding and Purpose of              Upon the creation of the Liquidating Trust, the Trust Funding
Liquidating Trust                   Amount, the Initial GUC Distribution Amount, and Liquidating
                                    Trust Claims shall be transferred to the Liquidating Trust as set
                                    forth above.

                                    The Trustee shall be empowered to: (i) assert, litigate, settle, and/or
                                    otherwise resolve the Liquidating Trust Claims for the benefit of the
                                    Liquidating Trust and its beneficiaries and (ii) resolve, litigate,
                                    and/or object to claims against the Debtors’ estates other than
                                    claims allowed hereunder or by the Bankruptcy Court.

                                    The proceeds of the Liquidating Trust Claims shall be utilized to
                                    fund the administration of the Liquidating Trust and the
                                    distributions to the beneficiaries of the Liquidating Trust.

                                    The Initial GUC Distribution Amount shall be distributed pro rata
                                    among the beneficiaries of the Liquidating Trust other than the
                                    Prepetition Agent, it being agreed among the Parties that the
                                    Prepetition Secured Parties shall not recover any amounts from the
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    In the event that Mr. Deitz is unable or unwilling to serve, the Prepetition Agent shall identify two alternatives for
    the Committee to select between to serve as the Liquidating Trustee on substantially the same terms as Mr. Dietz.

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                          Initial GUC Distribution Amount. Any distributions made by the
                          Liquidating Trust to its beneficiaries from any assets of the
                          Liquidating Trust other than the Initial GUC Distribution Amount
                          shall be distributed pro rata to all of the beneficiaries of the
                          Liquidating Trust, including the Prepetition Agent for the benefit of
                          the Prepetition Secured Parties on account of the Deficiency Claim.

                          Notwithstanding anything to the contrary herein, the Liquidating
                          Trustee shall have the authority to create reserves of Liquidating
                          Trust assets (including with respect to the Initial GUC Distribution
                          Amount) for any reason consistent with his duties under the
                          Liquidating Trust Agreement.

Prepetition Obligations   The Committee hereby:
and Release of Claims
                          a) adopts the admissions, stipulations, acknowledgements and
                             agreements made by the Debtors as reflected in Paragraph E of
                             the Cash Collateral Order;

                          b) reaffirms its agreement under that certain Stipulation Regarding
                             Unencumbered Assets and Occurrence of Investigation
                             Termination Date entered into between the Prepetition Agent
                             and the Committee and approved by order of the Bankruptcy
                             Court [Docket No. 293] (the “Prior Stipulation”) that the
                             Investigation Termination Date (as defined in the Cash
                             Collateral Order) has passed and the Committee has waived all
                             rights to assert any Challenge (as defined in Cash Collateral
                             Order);

                          c) agrees that, upon the occurrence of the Closing, the Prepetition
                             Agent, on behalf of the Prepetition Secured Parties, will have an
                             allowed deficiency claim (the “Deficiency Claim”) in the
                             amount of $67,252,851.11,87,252,851.11, which shall remain
                             secured by the Excluded Assets, other than the Liquidating
                             Trust Claims, which will not be subject to the security interest
                             of the Prepetition Secured Parties; provided, however, that the
                             amount of the Deficiency Claim shall be reduced on a
                             dollar-for-dollar basis by any net proceeds paid to the
                             Prepetition Agent from any Excluded Assets;

                          d) releases the Prepetition Secured Parties from any and all claims
                             and causes of action related to the Debtors, their estates, the
                             Prepetition Obligations (as defined in the Cash Collateral
                             Order), or these Chapter 11 Cases; and

                          e) consents to the APA, the Sale Order and, in each case, the

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                         transactions contemplated thereby.

                      The foregoing agreements, admissions, stipulations,
                      acknowledgements, reaffirmations, and releases by and of the
                      Committee shall be binding on the Liquidating Trustee and any
                      chapter 7 trustee, as applicable.

Chapter 11 Plan       Any Plan confirmed in the Chapter 11 Cases (a) may not alter or
                      modify the terms of this Settlement Term Sheet, the APA or the
                      Sale Order, unless agreed to in writing by the Prepetition Agent and
                      (b) must incorporate the terms set forth in the section titled
                      “Prepetition Obligations and Release of Claims” above.

Implementation        The settlement, including without limitation the payment of the
                      Wind-Down Funding Amount, shall be effective upon entry of the
                      Sale Order.

                      The Liquidating Trust shall be implemented via a Plan or such other
                      method as mutually agreed to by the Prepetition Agent and the
                      Committee, after consultation with the Debtors.

                      In the event that the Chapter 11 Cases are converted to Chapter 7,
                      the rights of the Liquidating Trust set forth herein shall inure to the
                      benefit of the Chapter 7 Trustee, including without limitation, the
                      Trust Funding Amount and the Initial GUC Distribution Amount.




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                                           EXHIBIT 1

                                    WIND-DOWN BUDGET

                                            [To come.]

                                                                             ($ in thousands USD)
Description                                                                            Amount
Professional Fees through Plan Effective Date                                               $250
Wind-down Manager/Trustee Fees (does not include incentive fees)                             $80
Professional Support for Wind-down Manager/Trustee:                                         $560
US Trustee Fees (8/1 - 9/30)                                                                 $35

Miscellaneous / Other (includes items such as claims agent, service of solicitation          $75
materials, independent manager, Purchaser assistance with accounting and
reconciliation costs, as needed)
Total Disbursements                                                                       $1,000


        Purchaser agrees that it will make its personnel available at no cost to the responsible
officer of the Debtors referred to in Section 2.2 of the APA or, after the effective date of a Plan,
the Trustee, to provide information and assistance with accounting and claim reconciliation
matters, for the following periods and capped personnel hours: (a) 25 hours per month for each of
the first two months after the Closing; (b) 20 hours per month for each of the third and fourth
months after the Closing; and (c) 10 hours per month for months five through 12 after the
Closing. If additional assistance is requested by such responsible officer or the Trustee, as
applicable, the Purchaser shall provide such assistance as is reasonably requested for a reasonable
period of time on customary terms for the assistance requested and the requesting party shall pay
Purchaser its actual costs for providing such assistance and the out-of-pocket expenses incurred
by the Purchaser in connection therewith.
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Input:
Document 1 ID       interwovenSite://DMS.KTBSLAW.COM/iManage/186592/9
                    #186592v9<iManage> - Stanadyne - UCC Settlement
Description
                    Term Sheet
                    interwovenSite://DMS.KTBSLAW.COM/iManage/186592/1
Document 2 ID
                    0
                    #186592v10<iManage> - Stanadyne - UCC Settlement
Description
                    Term Sheet
Rendering set       Standard

Legend:
Insertion
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Moved deletion
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Statistics:
                    Count
Insertions                               18
Deletions                                11
Moved from                                0
Moved to                                  0
Style change                              0
Format changed                            0
Total changes                            29
